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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  JESSE SIMPSON,

                         Plaintiff,

  v.                                                       Civil Action No. 20-2758 (TSC)

  U.S. DEPARTMENT OF JUSTICE,

                         Defendant.


                                      JOINT STATUS REPORT

       Pursuant to this Court’s Minute Order (Aug. 23, 2022), Plaintiff Jesse Simpson and

Defendant Department of Justice, by and through the undersigned counsel, respectfully file this

Joint Status Report to appraise the Court of the status of this case under the Freedom of Information

Act, 5 U.S.C. § 552. The Bureau will review 750 pages and produce any responsive, non-exempt

records to Simpson by the end of July, and produce the remaining records by the end of August.

Dated: July 21, 2023                                          Respectfully submitted,

 /s/ Deborah M. Golden                                       MATTHEW M. GRAVES
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